             Case: 3:22-cv-01899-JRK Doc #: 41-2 Filed: 06/11/24 1 of 2. PageID #: 1661




                    GENOVESE & RENO REPORTING SERVICE, LLC
                         414 N. Erie Street, Suite 100
                              Toledo, Ohio 43604
                                (419) 249-2705


  October 8, 2023


  Zashin & Rich
  17 South High Street, Suite 900
  Columbus, Ohio 43215 (614) 224-4411
  Attn: Drew C. Piersall
                                                             Invoice #23-123
                                                             Tax I.D. #XX-XXXXXXX

-------------------------------------------------------------------------------

    In Re:          Dreyon Wynn v. University of Toledo
                    USDC #3:22-cv-01899


    9-19-23:        Deposition of Dreyon Wynn (Vol. I)

                         Attendance Fee                                $ 195.00

                         Original - 129 pgs. @ $3.55                      457.95

    9-20-23:        Deposition of Dreyon Wynn (Vol. II)

                         Attendance Fee                                   438.75

                         Original     -   255 pgs. @ $3.55                905.25

                         E-Transcripts - 2 @ $25/each                     50.00
                                                                       $2046.95


                              THANK YOU!
                PLEASE RETURN BOTTOM PORTION WITH YOUR CHECK
      A LATE PAYMENT CHARGE OF 1.5% PER MONTH WILL APPLY AFTER 30 DAYS
              USE OF CREDIT CARD WILL RESULT IN A 3% INCREASE

 GENOVESE

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 GENOVESE               BILLED 10-8-23              INV. #23-123
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             Case: 3:22-cv-01899-JRK Doc #: 41-2 Filed: 06/11/24 2 of 2. PageID #: 1662




                    GENOVESE & RENO REPORTING SERVICE, LLC
                         414 N. Erie Street, Suite 100
                              Toledo, Ohio 43604
                                (419) 249-2705


  November 9, 2023


  Zashin & Rich
  17 South High Street, Suite 900
  Columbus, Ohio 43215 (614) 224-4411
  Attn: Drew C. Piersall
                                                             Invoice #23-122C
                                                             Tax I.D. #XX-XXXXXXX

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    In Re:          Dreyon Wynn v. University of Toledo
                    USDC #3:22-cv-01899


    9-18-23:        Deposition of John Elliott

                     Original - 60 pgs. @ $3.55                           $213.00

    9-19-23:        Depositions of Bethany Ziviski and
                    Jeff Newton

                     Original - Ziviski - 68 pgs. @ $3.55                  241.40

                     Original - Newton - 33 pgs. @ $3.55/pg.               117.15

                     E-Transcripts - 3 @ $25/each                           75.00
                                                                          $646.55



                              THANK YOU!
                PLEASE RETURN BOTTOM PORTION WITH YOUR CHECK
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              USE OF CREDIT CARD WILL RESULT IN A 3% INCREASE

 GENOVESE

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